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Cancer Incidence among Glyphosate-Exposed Pesticide Applicators in the
Agricultural Health Study
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                                                                                                          of noncarcinogenicity for humans” (U.S.
 Glyphosate is a broad-spectrum herbicide that is one of the most frequently applied pesticides in        EPA 1993). Despite this conclusion, three
 the world. Although there has been little consistent evidence of genotoxicity or carcinogenicity         recent case–control studies suggested an asso-
 from in vitro and animal studies, a few epidemiologic reports have indicated potential health            ciation between reported glyphosate use and
 effects of glyphosate. We evaluated associations between glyphosate exposure and cancer incidence        the risk of non-Hodgkin lymphoma (NHL)
 in the Agricultural Health Study (AHS), a prospective cohort study of 57,311 licensed pesticide          (De Roos et al. 2003b; Hardell and Eriksson
 applicators in Iowa and North Carolina. Detailed information on pesticide use and other factors          1999; Hardell et al. 2002; McDuffie et al.
 was obtained from a self-administered questionnaire completed at time of enrollment                      2001). Considering the widespread and fre-
 (1993–1997). Among private and commercial applicators, 75.5% reported having ever used                   quent use of glyphosate in both the United
 glyphosate, of which > 97% were men. In this analysis, glyphosate exposure was deﬁned as a) ever         States and the rest of the world, ongoing risk
 personally mixed or applied products containing glyphosate; b) cumulative lifetime days of use, or       assessment is of importance. We studied site-
 “cumulative exposure days” (years of use × days/year); and c) intensity-weighted cumulative expo-        specific cancer incidence associated with
 sure days (years of use × days/year × estimated intensity level). Poisson regression was used to esti-   glyphosate use among pesticide applicators in
 mate exposure–response relations between glyphosate and incidence of all cancers combined and            the Agricultural Health Study (AHS) cohort.
 12 relatively common cancer subtypes. Glyphosate exposure was not associated with cancer inci-
 dence overall or with most of the cancer subtypes we studied. There was a suggested association          Materials and Methods
 with multiple myeloma incidence that should be followed up as more cases occur in the AHS.               Cohort enrollment and follow-up. The AHS is
 Given the widespread use of glyphosate, future analyses of the AHS will allow further examination        a prospective cohort study in Iowa and North
 of long-term health effects, including less common cancers. Key words: cancer, cohort study, farm-       Carolina, which includes 57,311 private and
 ing, glyphosate, pesticide. Environ Health Perspect 113:49–54 (2005). doi:10.1289/ehp.7340               commercial applicators who were licensed to
 available via http://dx.doi.org/ [Online 4 November 2004]                                                apply restricted-use pesticides at the time of
                                                                                                          enrollment. Recruitment of the applicators
                                                                                                          occurred between 1993 and 1997 (Alavanja
Glyphosate [N-(phosphonomethyl)glycine],             battery of assays (Garry et al. 1999; Grisolia       et al. 1996). Cohort members were matched
commonly sold in the commercial formula-             2002; Li and Long 1988; Wildeman and                 to cancer registry files in Iowa and North
tion named Roundup (Monsanto Company,                Nazar 1982). However, other studies observed         Carolina for case identification and to the
St. Louis, MO), has been a frequently used           that glyphosate treatment of human lympho-           state death registries and the National Death
herbicide on both cropland and noncropland           cytes in vitro resulted in increased sister chro-    Index (National Center for Health Statistics
areas of the world since its introduction in         matid exchanges (Bolognesi et al. 1997),             1999) to ascertain vital status. Incident cancers
the 1970s (Williams et al. 2000). Roundup is         chromosomal aberrations (Lioi et al. 1998b),         were identified for the time period from the
a combination of the active ingredient and           and indicators of oxidative stress (Lioi et al.      date of enrollment until 31 December 2001
other chemicals, including a surfactant (poly-       1998b). Some studies found slightly greater          and were coded according to the International
oxyethyleneamine) that enhances the spread-          toxicity of the Roundup formulation com-             Classiﬁcation of Diseases, 9th Revision (WHO
ing of spray droplets when they contact              pared with glyphosate, in terms of both acute        1977). If cohort members had moved from the
foliage. Glyphosate is a broad-spectrum her-         toxicity (Folmar et al. 1979; Martinez et al.        state, they were censored in the year they left.
bicide of which the primary mechanism is             1990; Mitchell et al. 1987) and genotoxicity         The median time of follow-up was 6.7 years.
inhibition of the enzyme 5-enolpyruvoyl-             (Bolognesi et al. 1997; Vigfusson and Vyse               Exposure assessment. Using a self-adminis-
shikimate 3-phosphate synthase, which is             1980). Roundup was associated with increased         tered enrollment questionnaire, we collected
essential for the formation of aromatic amino        DNA adducts in mice (Peluso et al. 1998) and         comprehensive-use data on 22 pesticides,
acids in plants (Steinrucken and Amrhein             a weak mutagenic effect in the Salmonella assay      ever/never use information for 28 additional
1980). Because this speciﬁc biologic pathway         (Kale et al. 1995; Moriya et al. 1983; Rank          pesticides, and general information on pesticide
operates only in plants and microorganisms,          et al. 1993), whereas glyphosate alone did not       application methods, personal protective equip-
the mechanism is not considered to be a risk         show these effects. Chronic feeding studies of       ment, pesticide mixing, and equipment repair.
for humans. Nevertheless, genotoxic, hor-            glyphosate have not provided evidence of a           Data were also collected on basic demographic
monal, and enzymatic effects in mammals              carcinogenic effect in mice or rats (Williams
have been reported (Bolognesi et al. 1997;           et al. 2000).                                        Address correspondence to A.J. De Roos, Fred
Daruich et al. 2001; El Demerdash et al.                  The U.S. Environmental Protection               Hutchinson Cancer Research Center and University
2001; Hietanen et al. 1983; Lioi et al. 1998a,       Agency (U.S. EPA 1993) and the World                 of Washington Department of Epidemiology, 1100
1998b; Olorunsogo et al. 1979; Peluso et al.         Health Organization (WHO 1994) reviewed              Fairview Ave. N, M4-B874, Seattle, WA 98109 USA.
                                                                                                          Telephone: (206) 667-7315. Fax: (206) 667-4787.
1998; Walsh et al. 2000; Yousef et al. 1995).        the toxicology data on glyphosate and con-           E-mail: deroos@u.washington.edu
    Results from genotoxicity studies of             cluded that glyphosate is not mutagenic or             The authors declare they have no competing ﬁnancial
glyphosate have been conﬂicting. Glyphosate          carcinogenic. The U.S. EPA classified                interests.
did not show any genotoxic activity in a             glyphosate as category E, indicating “evidence         Received 21 June 2004; accepted 3 November 2004.


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and lifestyle factors. Applicators who com-                    categorize exposure data, to avoid sparse data                 of cancer incidence in relation to glyphosate
pleted this questionnaire were given a self-                   for rare cancers in the high-exposure cate-                    use; however, other analyses contained fewer
administered take-home questionnaire, which                    gories. Intensity levels were estimated using                  observations because of missing data for dura-
contained additional questions on occupational                 questionnaire data from enrollment and mea-                    tion and frequency of glyphosate use or for
exposures and lifestyle factors. The question-                 surement data from the published pesticide                     covariates.
naires are available from the AHS website                      exposure literature, as follows: intensity level =                  We compared certain baseline characteris-
(National Institutes of Health 2004).                          [(mixing status + application method + equip-                  tics among three types of pesticide applicators:
     We constructed three glyphosate exposure                  ment repair status) × personal protective                      a) those applicators who never personally used
metrics for this analysis: a) ever personally                  equipment use] (Dosemeci et al. 2002).                         glyphosate; b) applicators with the lowest
mixed or applied products containing                               Data analysis. Persons whose ﬁrst primary                  glyphosate exposure, defined as being in the
glyphosate (ever/never); b) cumulative lifetime                cancer occurred before the time of enrollment                  lowest tertile of cumulative exposure days; and
days of use, or “cumulative exposure days”                     (n = 1,074) were excluded from analyses, as                    c) those with higher glyphosate exposure,
(years of use × days per year, categorized in                  were subjects who were lost to follow-up or                    deﬁned as being in the middle or highest ter-
tertiles among users: 1–20, 21–56, 57–2,678);                  otherwise did not contribute any person-time                   tile of cumulative exposure days. The purpose
and c) intensity-weighted cumulative exposure                  (n = 298) and applicators who did not provide                  of the comparison was to identify potential
days (years of use × days per year × intensity                 any information on age (n = 7) or whether                      confounders of glyphosate exposure–disease
level, categorized in tertiles: 0.1–79.5,                      they had ever used glyphosate (n = 1,678).                     associations for the various analyses we con-
79.6–337.1, 337.2–18,241). Tertiles were                       After exclusions, 54,315 subjects were avail-                  ducted. Differences between the exposure
chosen a priori as the cut points with which to                able for inclusion in the age-adjusted analyses                groups were tested using the chi-square statis-
                                                                                                                              tics and associated p-values.
Table 1. Selected characteristics of applicators in the AHS by glyphosate exposure, based on data from                             Poisson regression analyses were carried out
the enrollment questionnaire (1993–1997).a                                                                                    for all cancers combined and specific cancer
                                        Never exposed             Lowest exposed        Higher exposed                        sites to estimate rate ratios (RRs) and 95%
                                          (n = 13,280)              (n = 15,911)b        (n = 24,465)c                        confidence intervals (CIs) associated with
Characteristic                              No. (%)                    No. (%)              No. (%)                           glyphosate exposure metrics; the effect of each
State of residence                                                                                                            metric was evaluated in a separate model for
 Iowa                                           9,987 (75.2)                   9,785 (61.5)                15,336 (62.7)      each cancer. We analyzed tertile exposure vari-
 North Carolina                                 3,293 (24.8)                   6,126 (38.5)                 9,129 (37.3)      ables in separate models using either the lowest-
Age (years)                                                                                                                   tertile–exposed or never-exposed subjects as the
 < 40                                           2,279 (17.2)                   2,226 (14.0)                 4,190 (17.1)      reference category. We investigated specific
 40–49                                          3,420 (25.8)                   4,279 (26.9)                 7,899 (32.3)
 50–59                                          2,989 (22.5)                   3,931 (24.7)                 6,035 (24.7)      cancer sites for which there were at least
 60–69                                          2,715 (20.4)                   3,266 (20.5)                 3,997 (16.3)      30 cases with sufﬁcient information for inclu-
 70                                             1,877 (14.1)                   2,209 (13.9)                 2,344 (9.6)       sion in age-adjusted analyses. These cancers
Sex                                                                                                                           were then evaluated for all the exposure metrics
 Male                                          12,778 (96.2)                  15,505 (97.5)                23,924 (97.8)      and in adjusted analyses, despite smaller num-
 Female                                           502 (3.8)                      406 (2.6)                    541 (2.2)       bers of cases upon further adjustment. For each
Applicator typed
 Private                                       12,067 (90.9)                  15,008 (94.3)                21,938 (89.7)      exposure metric, RRs were adjusted for demo-
 Commercial                                     1,213 (9.1)                      903 (5.7)                  2,527 (10.3)      graphic and lifestyle factors, including age at
Education                                                                                                                     enrollment (continuous), education (dichoto-
 High school graduate or GED                    8,898 (68.7)                   8,997 (57.9)                11,975 (50.1)      mous: f high school graduate or GED/educa-
 Beyond high school                             4,060 (31.3)                   6,530 (42.1)                11,936 (49.9)      tion beyond high school), pack-years of
Smoking history                                                                                                               cigarette smoking [indicator variables: never,
 Never                                          7,298 (57.3)                   8,241 (53.2)                12,751 (53.7)
 f 12 pack-years                                2,866 (22.5)                   3,597 (23.2)                 5,572 (23.5)      pack-years at or below the median (12 pack-
 > 12 pack-years                                2,567 (20.2)                   3,643 (23.5)                 5,439 (22.9)      years), pack-years above the median], alcohol
Alcohol consumption in past year                                                                                              consumption in the past year [indicator vari-
 None                                           4,087 (32.7)                   5,352 (35.6)                 7,023 (29.8)      ables: none, frequency at or below the median
 f 6 drinks/month                               4,461 (35.7)                   5,291 (35.2)                 8,149 (34.5)      (72 drinks), frequency above the median], fam-
 > 6 drinks/month                               3,936 (31.5)                   4,387 (29.2)                 8,422 (35.7)      ily history of cancer in first-degree relatives
Family history of cancer
 No                                             8,701 (65.5)                   9,520 (59.8)                14,668 (60.0)      (dichotomous: yes/no), and state of residence
 Yes                                            4,579 (34.5)                   6,391 (40.2)                 9,797 (40.0)      (dichotomous: Iowa/North Carolina). There
Use of other common pesticides                                                                                                was insufﬁcient variability in sex or applicator
 2,4-D                                          7,030 (53.3)                  11,879 (75.2)                20,699 (85.1)      type to adjust for these factors.
 Alachlor                                       4,896 (39.7)                   7,321 (50.9)                13,790 (59.7)           Potential confounding from exposure to
 Atrazine                                       7,707 (58.5)                  10,533 (66.6)                18,237 (75.0)      other pesticides was explored by adjusting for
 Metolachlor                                    3,890 (31.6)                   6,172 (43.1)                12,952 (56.2)
 Triﬂuralin                                     4,239 (34.0)                   7,109 (49.7)                14,675 (63.5)      the five pesticides for which cumulative-
 Carbaryl                                       4,110 (33.7)                   8,515 (58.1)                15,139 (64.8)      exposure-day variables were most highly associ-
 Benomyl                                          510 (4.3)                    1,418 (9.9)                  3,391 (14.8)      ated with glyphosate cumulative exposure days
 Maneb                                            492 (4.1)                    1,412 (9.9)                  2,929 (12.9)      [(2,4-dichlorophenoxy)acetic acid (2,4-D),
 Paraquat                                       1,067 (9.0)                    3,021 (21.2)                 8,031 (35.2)      alachlor, atrazine, metolachlor, trifluralin];
 Diazinon                                       1,906 (16.0)                   4,615 (32.4)                 9,107 (40.0)      these pesticide exposures were coded as vari-
aIncludes observations for subjects included in age-adjusted Poisson regression models of cancer incidence (n = 54,315).      ables indicating never, low, and high, with the
bLowest tertile of cumulative exposure days. cHighest two tertiles of cumulative exposure days; the sum of the three ter-
                                                                                                                              split between low and high as the median of
tiles of cumulative exposure days (n = 40,376) does not equal the total number of subjects who reported having ever used
glyphosate (n = 41,035) because of missing data on duration and frequency of use. d“Private” refers primarily to individual   their cumulative exposure days. Additionally,
farmers, and “commercial” refers to professional pesticide applicators.                                                       of the pesticides for which only ever/never use


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information was available, we adjusted for the        exposures, we decided to conduct some analy-                  trend was not observed in analyses using never
ﬁve pesticides that were most highly associated       ses using lowest-exposed rather than never-                   exposed as the referent (results not shown).
with ever use of glyphosate (benomyl, maneb,          exposed applicators as the reference group, in                There was a 40% increased risk of colon can-
paraquat, carbaryl, diazinon). Where inclusion        order to avoid residual confounding by unmea-                 cer for the highest tertile of intensity-weighted
of all 10 other pesticides in a model changed a       sured covariates. However, we decided a priori                exposure; however, no clear monotonic trend
glyphosate exposure estimate by at least 20%          that any association should be apparent regard-               was observed for either exposure metric.
(compared with a model restricted to the same         less of which reference group was used.                       Elevated risks of leukemia and pancreas cancer
observations), these results were presented as             RRs for the association of all cancers com-              were observed only for the middle tertiles of
the ﬁnal results for that cancer; otherwise, esti-    bined and specific cancers with having ever                   both cumulative and intensity-weighted expo-
mates adjusted only for demographic and               used glyphosate are presented in Table 2. RRs                 sure days, with no increased risk among those
lifestyle factors are presented.                      adjusted for age only are presented, as well as               with the highest exposure. The associations we
     Tests for trend across tertiles were con-        RRs adjusted for demographic and lifestyle                    observed in the analysis of ever use of
ducted by creating a continuous variable with         factors and, in some cases, for other pesticides.             glyphosate (Table 2) for melanoma, rectum,
assigned values equal to the median value of          The incidence of all cancers combined was not                 kidney, and bladder cancers were not con-
cumulative exposure days (or intensity-               associated with glyphosate use, nor were most                 ﬁrmed in analyses based on exposure-day met-
weighted exposure days) within each tertile;          speciﬁc cancers. There was an 80% increased                   rics; similarly, no exposure–response patterns
the p-value for the trend test was that from          risk of melanoma associated with glyphosate                   were observed in analyses using never exposed
the Poisson model coefﬁcient for this contin-         use in the age-adjusted analysis, which dimin-                as the referent or in analyses across quintiles of
uous variable. We considered p-values < 0.10          ished slightly upon further adjustment.                       exposure (results not shown). No association
as indicative of a trend.                             Adjusted risk estimates for colon, rectum, kid-               was observed between NHL and glyphosate
     Additional analyses were conducted for           ney, and bladder cancers were elevated by                     exposure in any analysis, including an analysis
cancers for which we observed elevated RRs,           30–60%, but these estimates were not statisti-                comparing the highest with the lowest quintile
and for NHL because of its association with           cally signiﬁcant. There was more than 2-fold                  of exposure (> 108 vs. > 0–9 cumulative expo-
glyphosate in previous studies. These included        increased risk of multiple myeloma associated                 sure days: RR = 0.9; 95% CI, 0.4–2.1).
analyses stratiﬁed by state and analyses across       with ever use of glyphosate in adjusted analy-                     Elevated RRs were estimated for multiple
quartiles and quintiles (where numbers                ses, although this is based on a small number                 myeloma, with an approximate 2-fold increased
allowed) of exposure days metrics.                    of cases. The association between myeloma                     risk for the highest tertile of both cumulative
                                                      incidence and glyphosate exposure was consis-                 and intensity-weighted exposure days (Table 3);
Results                                               tent in both states (ever used glyphosate, fully              however, small numbers precluded precise
Selected characteristics of the glyphosate-           adjusted analyses: Iowa RR = 2.6; North                       effect estimation (n = 19 in adjusted analyses of
exposed and never-exposed applicators are pre-        Carolina RR = 2.7).                                           exposure-day metrics). The estimated intensity-
sented in Table 1. Among 54,315 subjects                   Results from analyses of tertiles of increas-            level component of the intensity-weighted
included in age-adjusted analyses, 41,035             ing glyphosate exposure level are presented in                exposure-day metric was not associated with
(75.5%) reported having ever personally mixed         Table 3. A decreased risk of lung cancer was                  multiple myeloma (highest vs. lowest tertile:
or applied products containing glyphosate, and        suggested for the highest tertile of both cumu-               RR = 0.6; 95% CI, 0.2–1.8), and observed pos-
13,280 (24.5%) did not. The cohort, both              lative and intensity-weighted exposure days                   itive associations of the intensity-weighted
exposed and never exposed, was composed of            (p-value for trend = 0.02); however, a similar                exposure-day metric with myeloma relied solely
primarily of male, middle-aged, private appli-
                                                      Table 2. Association of glyphosate exposure (ever/never used) with common cancersa among AHS
cators. This is a population with relatively low      applicators.
smoking prevalence; in both the exposed and
never-exposed groups, more than half of the                                                                                                       RR (95% CI)b
                                                                                                                                                          Adjusted for age,
subjects reported that they had never smoked.
                                                                                                                   Ever used        Effect estimates      demographic and
Significant differences (p < 0.05) existed                                                     Total no.          glyphosate        adjusted for age      lifestyle factors,
between never-exposed and lowest-exposed              Cancer site                             of cancersc         (% of total)        (n = 54,315)d     and other pesticidesd
subjects for all of the characteristics in Table 1.   All cancers                                2,088               73.6             1.0 (0.9–1.1)          1.0 (0.9–1.2)
Lowest- and higher-exposed subjects (p < 0.05)        Lung                                         204               72.1             1.0 (0.7–1.3)          0.9 (0.6–1.3)
also differed on several factors, the most            Oral cavity                                   59               76.3             1.1 (0.6–2.0)          1.0 (0.5–1.8)
notable being that higher-exposed subjects            Colon                                        174               75.3             1.1 (0.8–1.6)          1.4 (0.8–2.2)e
were more likely to be commercial applicators,        Rectum                                        76               77.6             1.2 (0.7–2.1)          1.3 (0.7–2.3)
to have consumed greater amounts of alcohol           Pancreas                                      38               76.3             1.2 (0.6–2.5)          0.7 (0.3–2.0)e
                                                      Kidney                                        63               73.0             1.0 (0.6–1.7)          1.6 (0.7–3.8)e
in the past year, and to have used other speciﬁc      Bladder                                       79               76.0             1.2 (0.7–2.0)          1.5 (0.7–3.2)e
pesticides. However, lowest- and higher-              Prostate                                     825               72.5             1.0 (0.8–1.1)          1.1 (0.9–1.3)
exposed subjects were similar to each other           Melanoma                                      75               84.0             1.8 (1.0–3.4)          1.6 (0.8–3.0)
(p v 0.05) in characteristics including smoking       All lymphohematopoietic cancers              190               75.3             1.1 (0.8–1.5)          1.1 (0.8–1.6)
and family history of cancer in a first-degree        NHL                                           92               77.2             1.2 (0.7–1.9)          1.1 (0.7–1.9)
relative. In addition, lowest- and higher-            Leukemia                                      57               75.4             1.1 (0.6–2.0)          1.0 (0.5–1.9)
                                                      Multiple myeloma                              32               75.0             1.1 (0.5–2.4)          2.6 (0.7–9.4)f
exposed subjects were more similar to each
                                                      aCancers for which at least 30 subjects had sufﬁcient information for inclusion in age-adjusted analyses. bRRs and 95%
other than to their never-exposed counterparts
                                                      CIs from Poisson regression models. cFrequencies among subjects included in age-adjusted analyses. dNumbers of sub-
(by qualitative comparison of percentages only)       jects in these analyses are lower than in age-adjusted analyses because of missing observations for some covariates
in factors including North Carolina residence,        (models adjusted for demographic and lifestyle factors include 49,211 subjects; models additionally adjusted for other
education beyond high school, and use of              pesticides include 40,719 subjects). eEstimates adjusted for other pesticides are shown because inclusion of other pesti-
other pesticides. Because of relative similarities    cide variables in the model changed the effect estimate for glyphosate by at least 20%. fThe estimate for myeloma was
                                                      not confounded by other pesticides according to our change-in-estimate rule of v 20%; however, the fully adjusted esti-
between lowest- and higher-exposed in factors         mate is shown for the purpose of comparison with state-speciﬁc estimates (in the text), which were confounded by other
associated with socioeconomic status and other        pesticides and required adjustment.



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on the exposure-day component; therefore,                     Discussion                                                    Investigators have used pesticide supplier
only results for cumulative exposure days are                 There was no association between glyphosate                   reports (Blair and Zahm 1993) and self-
shown further. When using never exposed as                    exposure and all cancer incidence or most of                  reported pesticide use information provided
the referent, the association between glyphosate              the specific cancer subtypes we evaluated,                    earlier (Engel et al. 2001) to assess the validity
use and multiple myeloma was more pro-                        including NHL, whether the exposure metric                    of retrospectively reported pesticide use data.
nounced, with more than 4-fold increased risk                 was ever used, cumulative exposure days, or                   Among farmers in the AHS, Blair et al. (2002)
associated with the highest tertile of cumulative             intensity-weighted cumulative exposure days.                  reported high reliability for reports of ever use
exposure days (tertile 1: RR = 2.3; 95% CI,                   The most consistent ﬁnding in our study was                   of a particular pesticide (ranging from 70 to
0.6–8.9; tertile 2: RR = 2.6; 95% CI, 0.6–11.5;               a suggested association between multiple                      > 90%). Agreement for duration and fre-
tertile 3: RR = 4.4; 95% CI, 1.0–20.2; p-value                myeloma and glyphosate exposure, based on a                   quency of use was lower but generally 50–60%
for trend = 0.09). Although the myeloma cases                 small number of cases.                                        for specific pesticides. Hoppin et al. (2002)
were sparsely distributed in analyses of quartiles                Although our study relied on self-reported                have demonstrated that farmers provide plausi-
and quintiles, the highest increased risks were               exposure information, farmers have been                       ble data regarding lifetime duration of use,
observed in the highest exposure categories (full             shown to provide reliable information regard-                 with fewer than 5% reporting implausible val-
set of results not shown: upper quartile vs.                  ing their personal pesticide use (Blair et al.                ues for speciﬁc chemicals.
never exposed: RR = 6.6; 95% CI, 1.4–30.6;                    2002; Blair and Zahm 1993; Duell et al. 2001;                      There were rather few cases of NHL for
p-value for trend across quartiles = 0.01).                   Engel et al. 2001; Hoppin et al. 2002).                       inclusion in this analysis (n = 92); nevertheless,

Table 3. Association of glyphosate exposure (cumulative exposure days and intensity-weighted exposure days) with common cancersa among AHS applicators.
                                                   Cumulative exposure daysb                                       Intensity-weighted exposure daysc
                                      Tertile                                                          Tertile
Cancer site                         cut points       No.        RR (95% CI)d      p-Trend             cut points        No.          RR (95% CI)d    p-Trend
All cancers                                1–20             594                1.0                                     0.1–79.5            435                1.0
                                          21–56             372          1.0 (0.9–1.1)                                79.6–337.1           436          0.9 (0.8–1.0)
                                          57–2,678          358          1.0 (0.9–1.1)          0.57                 337.2–18,241          438          0.9 (0.8–1.1)          0.35
Lung                                       1–20              40                1.0                                     0.1–79.5             27                1.0
                                          21–56              26          0.9 (0.5–1.5)e                               79.6–337.1            38          1.1 (0.7–1.9)e
                                          57–2,678           26          0.7 (0.4–1.2)e         0.21                 337.2–18,241           27          0.6 (0.3–1.0)e         0.02
Oral cavity                                1–20              18                1.0                                     0.1–79.5             11                1.0
                                          21–56              10          0.8 (0.4–1.7)                                79.6–337.1            14          1.1 (0.5–2.5)
                                          57–2,678           10          0.8 (0.4–1.7)          0.66                 337.2–18,241           13          1.0 (0.5–2.3)          0.95
Colon                                      1–20              32                1.0                                     0.1–79.5             25                1.0
                                          21–56              28          1.4 (0.9–2.4)e                               79.6–337.1            20          0.8 (0.5–1.5)c
                                          57–2,678           15          0.9 (0.4–1.7)e         0.54                 337.2–18,241           30          1.4 (0.8–2.5)c         0.10
Rectum                                     1–20              20                1.0                                     0.1–79.5             16                1.0
                                          21–56              17          1.3 (0.7–2.5)                                79.6–337.1            18          1.0 (0.5–2.0)
                                          57–2,678           14          1.1 (0.6–2.3)          0.70                 337.2–18,241           16          0.9 (0.5–1.9)          0.82
Pancreas                                   0–20               9                1.0                                     0–79.5                6                1.0
                                          21–56               9          1.6 (0.6–4.1)                                79.6–337.1            16          2.5 (1.0–6.3)
                                          57–2,678            7          1.3 (0.5–3.6)          0.83                 337.2–18,241            3          0.5 (0.1–1.9)          0.06
Kidney                                     1–20              20                1.0                                     0.1–79.5             20                1.0
                                          21–56               8          0.6 (0.3–1.4)                                79.6–337.1             7          0.3 (0.1–0.7)
                                          57–2,678            9          0.7 (0.3–1.6)          0.34                 337.2–18,241           10          0.5 (0.2–1.0)          0.15
Bladder                                    1–20              23                1.0                                     0.1–79.5             14                1.0
                                          21–56              14          1.0 (0.5–1.9)                                79.6–337.1             8          0.5 (0.2–1.3)
                                          57–2,678           17          1.2 (0.6–2.2)          0.53                 337.2–18,241           13          0.8 (0.3–1.8)          0.88
Prostate                                   1–20             239                1.0                                     0.1–79.5            167                1.0
                                          21–56             132          0.9 (0.7–1.1)                                79.6–337.1           169          1.0 (0.8–1.2)
                                          57–2,678          145          1.1 (0.9–1.3)          0.69                 337.2–18,241          174          1.1 (0.9–1.3)          0.60
Melanoma                                   1–20              23                1.0                                     0.1–79.5             24                1.0
                                          21–56              20          1.2 (0.7–2.3)                                79.6–337.1            16          0.6 (0.3–1.1)
                                          57–2,678           14          0.9 (0.5–1.8)          0.77                 337.2–18,241           17          0.7 (0.3–1.2)          0.44
All lymphohematopoietic cancers            1–20              48                1.0                                     0.1–79.5             38                1.0
                                          21–56              38          1.2 (0.8–1.8)                                79.6–337.1            40          1.0 (0.6–1.5)
                                          57–2,678           36          1.2 (0.8–1.8)          0.69                 337.2–18,241           43          1.0 (0.7–1.6)          0.90
NHL                                        1–20              29                1.0                                     0.1–79.5             24                1.0
                                          21–56              15          0.7 (0.4–1.4)                                79.6–337.1            15          0.6 (0.3–1.1)
                                          57–2,678           17          0.9 (0.5–1.6)          0.73                 337.2–18,241           22          0.8 (0.5–1.4)          0.99
Leukemia                                   1–20               9                1.0                                     0.1–79.5              7                1.0
                                          21–56              14          1.9 (0.8–4.5)e                               79.6–337.1            17          1.9 (0.8–4.7)e
                                          57–2,678            9          1.0 (0.4–2.9)e         0.61                 337.2–18,241            8          0.7 (0.2–2.1)e         0.11
Multiple myeloma                           1–20               8                1.0                                     0–79.5                5                1.0
                                          21–56               5          1.1 (0.4–3.5)e                               79.6–337.1             6          1.2 (0.4–3.8)e
                                          57–2,678            6          1.9 (0.6–6.3)e         0.27                 337.2–18,241            8          2.1 (0.6–7.0)e         0.17
aCancers for which at least 30 subjects had sufﬁcient information for inclusion in age-adjusted analyses. bNumbers of subjects in analyses vary depending on missing observations for
cumulative exposure days and some covariates (models adjusted for demographic and lifestyle factors include 36,823 subjects; models additionally adjusted for other pesticides include
30,699 subjects). cNumbers of subjects in analyses vary depending on missing observations for intensity-weighted cumulative exposure days and some covariates (models adjusted for
demographic and lifestyle factors include 36,509 subjects; models additionally adjusted for other pesticides include 30,613 subjects). dRelative rate ratios and 95% CIs from Poisson
regression analyses. eEstimates adjusted for other pesticides are shown because inclusion of other pesticide variables in the model changed the effect estimate for glyphosate by at
least 20%.



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the available data provided evidence of no          The association we observed was with ever use         be due to selection bias or could be due to a
association between glyphosate exposure and         of glyphosate and cumulative exposure days of         confounder or effect modifier that is more
NHL incidence. This conclusion was consis-          use (a combination of duration and fre-               prevalent among this restricted subgroup and is
tent across analyses using the different expo-      quency), but not with intensity of exposure.          unaccounted for in our analyses. Further fol-
sure metrics and in analyses using either never     Estimated intensity of glyphosate exposure            low-up of the cohort and reevaluation of the
exposed or low exposed as the referent.             was based on general work practices that were         association between glyphosate exposure and
Furthermore, there was no apparent effect of        not glyphosate speciﬁc, including the percent-        myeloma incidence after a greater number of
glyphosate exposure on the risk of NHL in           age of time spent mixing and applying pesti-          cases develop will allow more detailed exami-
analyses stratified by state of residence or in     cides, application method, use of personal            nation of the potential biases underlying the
analyses of highly exposed groups comparing         protective equipment, and repair of pesticide         association.
the highest with the lowest quintile of expo-       application equipment (Dosemeci et al. 2002).              Certain limitations of our data hinder the
sure. These ﬁndings conﬂict with recent stud-       Information on work practices specific to             inferences we can make regarding glyphosate
ies. The first report of an association of          glyphosate use would clarify whether intensity        and its association with specific cancer sub-
glyphosate with NHL was from a case–control         of exposure contributes to myeloma risk.              types. Although the AHS cohort is large, and
study, but the estimate was based on only four          The number of myeloma cases in our study          there were many participants reporting
exposed cases (Hardell and Eriksson 1999).          was small, and it is plausible that spurious asso-    glyphosate use, the small numbers of speciﬁc
A pooled analysis of this initial study with a      ciations arose by chance; however, several            cancers occurring during the follow-up period
study of hairy cell leukemia showed a relation-     aspects of our results argue against a chance         hindered precise effect estimation. In addi-
ship between glyphosate exposure and an             association. The ﬁndings were internally con-         tion, most applicators were male, precluding
increased risk of disease [unadjusted analysis:     sistent, with increased risk observed in both         our ability to assess the association between
odds ratio (OR) = 3.0; 95% CI, 1.1–8.5]             states. Adding to the credibility of the associa-     glyphosate exposure and cancer incidence
(Hardell et al. 2002). A more extensive study       tion, there was some indication of a dose–            among women, for both non-sex-specific
conducted across a large region of Canada           response relationship, with risk estimates            cancers and sex-specific cancers (e.g., of the
found an elevated risk of NHL associated with       increasing across categories of increasing expo-      breast or ovary). Our analysis provides no
glyphosate use more frequent than 2 days/year       sure and stronger associations observed when          information on the timing of pesticide use in
(OR = 2.1; 95% CI, 1.2–3.7) (McDufﬁe et al.         using never-exposed subjects as the referent (as      relation to disease, limiting the ability to sufﬁ-
2001). Similarly, increased NHL risk in men         opposed to low exposed). Another possible             ciently explore latency periods or effects result-
was associated with having ever used                explanation for spurious associations is unad-        ing from glyphosate exposure at different ages.
glyphosate (OR = 2.1; 95% CI, 1.1–4.0) after        justed confounding. Our risk estimates were           Despite limitations of our study, certain infer-
adjustment for other commonly used pesti-           adjusted for some demographic and lifestyle           ences are possible. This prospective study of
cides in a pooled analysis of National Cancer       factors and other pesticides. Of the other pesti-     cancer incidence provided evidence of no asso-
Institute–sponsored case–control studies con-       cides included in the fully adjusted model, only      ciation between glyphosate exposure and most
ducted in Nebraska, Kansas, Iowa, and               diazinon and triﬂuralin were important con-           of the cancers we studied, and a suggested asso-
Minnesota (De Roos et al. 2003b). These pre-        founders of the glyphosate–myeloma associa-           ciation between glyphosate and the risk of mul-
vious studies were retrospective in design and      tion. It is certainly possible that an unknown        tiple myeloma. Future analyses within the AHS
thereby potentially susceptible to recall bias of   risk factor for myeloma could have con-               will follow up on these ﬁndings and will exam-
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exposure   reporting. Our analysis of the AHS       founded our results; however, any unknown             ine associations between glyphosate exposure
cohort had a prospective design, which should       confounder would have to be linked with               and incidence of less common cancers.
largely eliminate the possibility of recall bias.   glyphosate use. Finally, the increased myeloma
Differences in recall bias could account for        risk associated with glyphosate use could be                                   REFERENCES
discrepant study results; however, evaluation       due to bias resulting from a selection of sub-
of the potential for recall bias in case–control    jects in adjusted analyses that differed from         Alavanja MC, Sandler DP, McMaster SB, Zahm SH,
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studies of pesticides among farmers has not         subjects included in unadjusted analyses.                  Health Study. Environ Health Perspect 104:362–369.
uncovered evidence that it occurred (Blair and      Table 1 shows that 54,315 subjects were               Blair A, Tarone R, Sandler D, Lynch CF, Rowland A,
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